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          EXHIBIT A
  ANNOTATED STATES’ APPENDIX




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STATE COUNT(S)        SECTION(S)           STATUTE                          RELEVANT TEXT                      META’S POSITION
                     IN RESPONSE
Arizona   Count II   Sects. III, IV(A)   Ariz. Rev. Stat. §    The act, use or employment by any person       Meta agrees that the
                                          44-1522(A)           of any deception, deceptive or unfair act or States assert a claim for
                                                                   practice, fraud, false pretense, false   violation of this statute.
                                                                                 promise,                     Meta does not agree
                                                                   misrepresentation, or concealment,         that the text printed
                                                              suppression or omission of any material fact here is the only relevant
                                                                   with intent that others rely on such     authority and provides
                                                                      concealment, suppression or            appendices laying out
                                                                 omission, in connection with the sale or      relevant authority.
                                                              advertisement of any merchandise whether or
                                                                not any person has in fact been misled,
                                                                deceived or damaged thereby, is declared to
                                                                be an unlawfulmpractice.




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California Count III      Sect. III   Cal. Bus. & Prof.          It is unlawful for any person, firm,         Meta agrees that the
                                       Code § 17500              corporation or association, or any         States assert a claim for
                                                                     employee thereof with intent           violation of this statute.
                                                             directly or indirectly to dispose of real or     Meta does not agree
                                                             personal property or to perform services,        that the text printed
                                                             professional or otherwise, or anything of      here is the only relevant
                                                              any nature whatsoever or to induce the         authority and provides
                                                            public to enter into any obligation relating     appendices laying out
                                                           thereto, to make or disseminate or cause to         relevant authority.
                                                           be made or disseminated before the public
                                                                                  in
                                                          this state, or to make or disseminate or cause
                                                            to be made or disseminated from this state
                                                            before the public in any state, in any
                                                            newspaper or other
                                                              publication, or any advertising device,
                                                             or by public outcry or proclamation, or in
                                                             any other manner or means whatever,
                                                             including over the Internet, any
                                                             statement, concerning that real or
                                                                personal property or those services,
                                                             professional or otherwise, or concerning
                                                                 any circumstance or matter of fact
                                                                     connected with the proposed
                                                                performance or disposition thereof,
                                                                 which is untrue or misleading, and
                                                                          which is known, or




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California                                                      which by the exercise of
(continued)                                              reasonable care should be known,
                                                              to be untrue or misleading.
California    Count IV Sects. I, III, IV Cal. Bus. &    As used in this chapter, unfair          Meta agrees that the States assert a
                                          Prof. Code        competition shall mean and           claim for violation of this statute.
                                          § 17200           include any unlawful, unfair or      Meta does not agree that the text
                                                                fraudulent business act or       printed here is the only relevant
                                                             practice and unfair, deceptive,     authority and provides appendices
                                                           untrue or misleading advertising      laying out relevant authority.
Colorado      Count V Sects. III, IV Colo. Rev.                  A person engages in a               Meta agrees that the States
                                           Stat. § 6-     deceptive trade practice when,            assert a claim for violation of
                                           1-              in the course of the person’s             this statute. Meta does not
                                           105(1)(e)             business, vocation, or            agree that the text printed here
                                                               occupation, the person:              is the only relevant authority
                                                        (e) Either knowingly or recklessly         and provides appendices laying
                                                               makes a false representation as          out relevant authority.
                                                               to the characteristics,
                                                             ingredients, uses, benefits,
                                                                     alterations, or
                                                       quantities of goods, food, services,
                                                                 or property or a false
                                                                representation as to the
                                                          sponsorship, approval, status,
                                                          affiliation, or connection of a
                                                                   person therewith.
Colorado      Count VI Sects. III, IV Colo. Rev.       A person engages in a deceptive              Meta agrees that the States
                                           Stat. § 6- trade practice when, in the course           assert a claim for violation of
                                           1-               of the person’s business,               this statute. Meta does not
                                           105(1)(g)      vocation, or occupation, the            agree that the text printed here
                                                                       person:                     is the only relevant authority
                                                         (g) Represents that goods, food,         and provides appendices laying
                                                            services, or property are of a             out relevant authority.
                                                      particular standard, quality, or grade,
                                                      or that goods are of a particular style
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                                                         or model, if he knows or should
                                                          know that they are of another.




Colorado   Count VII   Sects. III, IV   Colo. Rev.             A person engages in a               Meta agrees that the States
                                            Stat. § 6-   deceptive trade practice when,           assert a claim for violation of
                                            1-            in the course of the person’s            this statute. Meta does not
                                            105(1)(u)          business, vocation, or            agree that the text printed here
                                                              occupation, the person:             is the only relevant authority
                                                             (u) Fails to disclose material      and provides appendices laying
                                                           information concerning goods,              out relevant authority.
                                                              services, or property which
                                                            information was known at the
                                                                       time of an
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  Colorado                                                   advertisement or sale if such
 (continued)                                                      failure to disclose such
                                                              information was intended to
                                                             induce the consumer to enter
                                                                     into a transaction.
 Colorado      Count VIII Sects. III, IV Colo. Rev.                A person engages in a            Meta agrees that the States
                                             Stat. § 6-     deceptive trade practice when,         assert a claim for violation of
                                             1-              in the course of the person’s          this statute. Meta does not
                                             105(1)(rrr)           business, vocation, or         agree that the text printed here
                                                                 occupation, the person:           is the only relevant authority
                                                                (rrr) Either knowingly or             and provides appendices
                                                                recklessly engages in any          laying  out relevant authority.
                                                                 unfair, unconscionable,
                                                                         deceptive,
                                                           deliberately misleading, false, or
                                                                fraudulent act or practice.
Connecticut    Count IX Sects. III,        Conn. Gen.      No person shall engage in unfair     Meta agrees that the States assert a
                                 IV(A),        Stat. §    methods of competition and unfair claim for violation of this statute.
                                 V             42-110b              or deceptive acts or         Meta does not agree that the text
                                               (a)       practices in the conduct of any trade printed here is the only relevant
                                                                       or commerce.             authority and provides appendices
                                                                                                   laying out relevant authority.
 Delaware       Count X Sects. III, IV(A) Del. Code Ann. The act, use, or employment by any Meta agrees that the States assert a
                                            § 2513(a)       person of any deception, fraud,      claim for violation of this statute.
                                                            false pretense, false promise,       Meta does not agree that the text
                                                                misrepresentation, unfair        printed here is the only relevant
                                                            practice, or the concealment,        authority and provides
                                                            suppression, or omission of any      appendices laying out relevant
                                                          material fact with intent that others  authority.
                                                             rely upon such concealment,
                                                              suppression, or omission, in
                                                            connection with the sale, lease,
                                                                         receipt, or
                                                                   advertisement of any
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                                                     merchandise, whether or not any
                                                      person has in fact been misled,
                                                               deceived, or
                                                     damaged thereby, is an unlawful
                                                                 practice.




Delaware   Count XI   Sect. III     Del. Code Ann.        A person engages in a               Meta agrees that the States
                                     § 2532(a)(12)  deceptive trade practice when,           assert a claim for violation of
                                                      in the course of a business,            this statute. Meta does not
                                                     vocation, or occupation, that          agree that the text printed here
                                                      person engages in any other            is the only relevant authority
                                                         conduct which similarly                and provides appendices
                                                          creates a likelihood of            laying out relevant authority.
                                                             confusion or of
                                                            misunderstanding.
Georgia    Counts     Sects. III,   O.C.G.A. § 10- Unfair or deceptive acts or practices   Meta agrees that the States assert a
              XII-    IV(A), V        1- 393(a)        in the conduct of consumer          claim for violation of this statute.
              XIII                                      transactions and consumer           Meta does not agree that the text
                                                                                            printed here is the only relevant
                                                                                           authority and provides appendices
                                                                                             laying out relevant authority.
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  Georgia                                                  acts or practices in trade or
(continued)                                                            commerce are
                                                                       declared unlawful.
 Hawai’i      Count XIV   Sects. III,   Haw. Rev.      Unfair methods of competition and       Meta agrees that the States assert a
                          IV(A), V      Stat. § 480-        unfair or deceptive acts or        claim for violation of this statute.
                                            2(a)          practices in the conduct of any       Meta does not agree that the text
                                                        trade or commerce are unlawful.         printed here is the only relevant
                                                                                               authority and provides appendices
                                                                                                 laying out relevant authority.
  Illinois     Counts     Sects. III,    815 ILCS                 Unfair methods of              Meta agrees that the States
                XV-       IV(A), V         505/2              competition and unfair or         assert a claim for violation of
                XVI                                          deceptive acts or practices,        this statute. Meta does not
                                                                  including but not               agree that the text printed
                                                        limited to the use or employment           here is the only relevant
                                                            of any deception fraud, false           authority and provides
                                                               pretense, false promise,             appendices laying out
                                                               misrepresentation or the               relevant authority.
                                                            concealment, suppression or
                                                       omission of any material fact, with
                                                          intent that others rely upon the
                                                            concealment, suppression or
                                                        omission of such material fact, or
                                                                      the use or
                                                            employment of any practice
                                                            described in Section 2 of the
                                                             "Uniform Deceptive Trade
                                                       Practices Act", approved August 5,
                                                             1965, in the conduct of any
                                                           trade or commerce are hereby
                                                          declared unlawful whether any
                                                          person has in fact been misled,
                                                           deceived or damaged thereby.
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Illinois   Count XVII Sects. III, IV(A)   815 ILCS            A person engages in a             Meta agrees that the States
                                            510/2       deceptive trade practice when,         assert a claim for violation of
                                                           in the course of his or her          this statute. Meta does not
                                                              business, vocation, or          agree that the text printed here
                                                            occupation, the person:            is the only relevant authority
                                                     (5) represents that goods or services        and provides appendices
                                                          have sponsorship, approval,          laying out relevant authority.
                                                       characteristics, ingredients, uses,
                                                      benefits, or quantities that they do
                                                        not have or that a person has a
                                                         sponsorship, approval, status,
                                                      affiliation, or connection that he or
                                                              she does not have […]
                                                             (7) represents that goods or
                                                                   services are of a
                                                     particular standard, quality, or grade
                                                                   or that goods
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  Illinois                                                are a particular style or model, if
(continued)                                                     they are of another […]
                                                               (12) engages in any other
                                                                      conduct which
                                                           similarly creates a likelihood of
                                                           confusion or misunderstanding.
Indiana       Counts   Sects. III, IV, V   Ind. Code §         (a) This chapter shall be        Meta agrees that the States
              XVIII-                        24-5- 0.5-1         liberally construed and        assert a claim for violation of
               XIX                                               applied to promote its         this statute. Meta does not
                                                                 purposes and policies.       agree that the text printed here
                                                            (b) The purposes and policies      is the only relevant authority
                                                                  of this chapter are to:     and provides appendices laying
                                                              (1) simplify, clarify, and           out relevant authority.
                                                                  modernize the law
                                                             governing deceptive and
                                                                   unconscionable
                                                                consumer sales practices;
                                                             (2) protect consumers from
                                                                  suppliers who commit
                                                            deceptive and unconscionable
                                                                      sales acts; and
                                                                    (3) encourage the
                                                           development of fair consumer
                                                                     sales practices.
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Indiana   Counts   Sects. III, IV, V   Ind. Code §      "Consumer transaction" means a Meta agrees that the States assert
          XVIII-                        24-5- 0.5-                  sale, lease,             a claim for violation of this
           XIX                           2(a)(1)       assignment, award by chance, or statute. Meta does not agree that
                                                         other disposition of an item of   the text printed here is the only
                                                        personal property, real property, relevant authority and provides
                                                           a service, or an intangible,    appendices laying out relevant
                                                              except securities and                    authority.
                                                            policies or contracts of
                                                             insurance issued by
                                                          corporations authorized to
                                                        transact an insurance business
                                                         under the laws of the state of
                                                                    Indiana,
                                                        with or without an extension of
                                                        credit, to a person for purposes
                                                          that are primarily personal,
                                                       familial, charitable, agricultural,
                                                               or household, or a
                                                       solicitation to supply any of
                                                        these things. However, the
                                                       term includes the following:
                                                     transfer of structured settlement
                                                        payment rights under IC 34-50-
                                                                         2.
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  Indiana                                                       (B) An unsolicited
(continued)                                            advertisement sent to a person
                                                      by telephone facsimile machine
                                                              offering a sale, lease,
                                                       assignment, award by chance,
                                                       or other disposition of an item
                                                           of personal property, real
                                                              property, a service, or an
                                                                     intangible.
                                                             (C) The collection of or
                                                        attempt to collect a debt by a
                                                                  debt collector.
Indiana       Counts   Sects. III, IV   Ind. Code §    A supplier may not commit an          Meta agrees that the States
              XVIII-                     24-5- 0.5-      unfair, abusive, or deceptive      assert a claim for violation of
               XIX                          3(a)          act, omission, or practice in      this statute. Meta does not
                                                         connection with a consumer        agree that the text printed here
                                                            transaction. Such an act,       is the only relevant authority
                                                           omission, or practice by a      and provides appendices laying
                                                         supplier is a violation of this        out relevant authority.
                                                           chapter whether it occurs
                                                          before, during, or after the
                                                      transaction. An act, omission, or
                                                           practice prohibited by this
                                                        section includes both implicit
                                                      and explicit misrepresentations.
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Indiana   Counts     Sects. III, IV   Ind. Code §     Without limiting the scope of        Meta agrees that the States
            XVIII-                    24-5- 0.5-       subsection (a), the following      assert a claim for violation of
             XIX                      3(b)(1);             acts, and the following         this statute. Meta does not
                                      (b)(2)         representations as to the subject   agree that the text printed here
                                                            matter of a consumer          is the only relevant authority
                                                        transaction, made orally, in     and provides appendices laying
                                                          writing, or by electronic           out relevant authority.
                                                    communication, by a supplier, are
                                                               deceptive acts:
                                                         (1) That such subject of a
                                                            consumer transaction has
                                                             sponsorship, approval,
                                                                   performance,
                                                    characteristics, accessories, uses,
                                                                 or benefits it
                                                           does not have which the
                                                          supplier knows or should
                                                       reasonably know it does not
                                                                     have.
                                                         (2) That such subject of a
                                                        consumer transaction is of a
                                                         particular standard, quality,
                                                        grade, style, or model, if it is
                                                       not and if the supplier knows
                                                         or should reasonably know
                                                                  that it is not.
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 Kansas     Count XX       Sect. III     K.S.A. § 50-      No supplier shall engage in any      Meta agrees that the States assert a
                                         626(a)              deceptive act or practice in       claim for violation of this statute.
                                                            connection with a consumer           Meta does not agree that the text
                                                                    transaction.                  printed here is the only relevant
                                                                                                authority and provides appendices
                                                                                                   laying out relevant authority.
 Kansas     Count XXI      Sect. IV      K.S.A. § 50-     No supplier shall engage in any       Meta agrees that the States assert a
                                         627(a)           unconscionable act or practice in     claim for violation of this statute.
                                                              connection with a consumer         Meta does not agree that the text
                                                       transaction. An unconscionable act or printed here is the only relevant
                                                          practice violates this act whether it authority and provides appendices
                                                           occurs before, during or after the      laying out relevant authority.
                                                                       transaction.
Kentucky    Count XXII Sects. III,         Ky. Rev.          Unfair, false, misleading, or      Meta agrees that the States assert a
                               IV(A),    Stat. Chapter             deceptive acts or             claim for violation of this statute.
                               V         § 367.170(1)      practices in the conduct of any        Meta does not agree that the text
                                                            trade or commerce are hereby          printed here is the only relevant
                                                                  declared unlawful.             authority and provides appendices
                                                                                                    laying out relevant authority.
Louisiana     Count     Sects. III,         La. Rev.        Unfair methods of competition       Meta agrees that the States assert a
              XXIII             IV(A),     Stat. Ann.     and unfair or deceptive acts or        claim for violation of this statute.
                                V               §         practices in the conduct of any         Meta does not agree that the text
                                          51:1405(A)     trade or commerce are hereby             printed here is the only relevant
                                                         declared unlawful.                      authority and provides appendices
                                                                                                    laying out relevant authority.
 Maine        Count     Sects. III,        Me. Rev.         Unfair methods of competition       Meta agrees that the States assert a
              XXIV              IV(A),     Stat. Ann.     and unfair or deceptive acts or        claim for violation of this statute.
                                V        Tit. 5, § 207    practices in the conduct of any         Meta does not agree that the text
                                                              trade or commerce are declared      printed here is the only relevant
                                                              unlawful.                          authority and provides appendices
                                                                                                    laying out relevant authority.
Michigan      Count     Sects. III,          Mich.            Unfair, unconscionable, or             Meta agrees that the States
              XXV               IV(A),   Comp. Laws           deceptive methods, acts, or          assert a claim for violation of
                                V          § 445.903          practices in the conduct of            this statute. Meta does not
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                                                            trade or                    agree that the text printed here
                                                      commerce are unlawful.             is the only relevant authority
                                                                                        and provides appendices laying
                                                                                         out relevant authority. Meta
                                                                                          notes that the States do not
                                                                                        print the full text of the statute,
                                                                                            which goes on to define
                                                                                        violations in more specific and
                                                                                                  limited terms.
Minnesota   Count    Sect. III   Minn. Stat. §            A person engages in a           Meta agrees that the States
            XXVI                  325D.44,          deceptive trade practice when,       assert a claim for violation of
                                 subdivision 1          in the course of business,        this statute. Meta does not
                                                      vocation, or occupation, the      agree that the text printed here
                                                                  person:                is the only relevant authority
                                                       (5) represents that goods or         and provides appendices
                                                 services have sponsorship, approval,    laying out relevant authority.
                                                 characteristics, ingredients, uses,
                                                 benefits, or quantities that they do
                                                 not have
                                                          or that a person has a
                                                    sponsorship, approval, status,
                                                     affiliation, or connection that
                                                        the person does not have;
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  Minnesota                                             (7) represents that goods or
 (continued)                                            services are of a
                                                      particular standard, quality, or
                                                        grade, or that goods are of a
                                                     particular style or model, if they
                                                             are of another; and
                                                    (14) engages in any other conduct
                                                           which similarly creates a
                                                           likelihood of confusion or
                                                           of misunderstanding.
Minnesota      Count    Sect. IV    Minn. Stat. §    1. A person engages in a                Meta agrees that the States
               XXVII                  325D.44,          deceptive trade practice            assert a claim for violation of
                                    subdivisions        when, in the course of            this statute. Meta does not agree
                                   1(13) and 2(b)       business, vocation, or             that the text printed here is the
                                                                    occupation,       the    only relevant authority and
                                                                    person:                provides appendices laying out
                                                    (13) engages in (i) unfair                    relevant authority.
                                                     methods of competition, or (ii)
                                                     unfair or unconscionable acts or
                                                     practices. 2.(b) For purposes of
                                                     subdivision 1, clause (13),
                                                      the standard of proof provided
                                                                under section
                                                     325F.69, subdivision 8, applies.
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Missouri   Count    Sects. III, IV, V   Mo. Rev.        The act, use or employment by      Meta agrees that the States assert
           XXVIII                         Stat. §         any person of any deception,        a claim for violation of this
                                          407.020.1         fraud, false pretense, false   statute. Meta does not agree that
                                                           promise, misrepresentation,      the text printed here is the only
                                                               unfair practice or the       relevant authority and provides
                                                          concealment, suppression, or      appendices laying out relevant
                                                        omission of any material fact in                authority.
                                                           connection with the sale or
                                                               advertisement of any
                                                              merchandise in trade or
                                                       commerce or the solicitation of
                                                         any funds for any charitable
                                                        purpose, as defined in section
                                                       407.453, in or from the state of
                                                        Missouri, is declared to be an
                                                       unlawful practice. The use by
                                                       any person, in connection with
                                                      the sale or advertisement of any
                                                           merchandise in trade or
                                                               commerce or the
                                                      solicitation of any funds for any
                                                      charitable purpose, as defined in
                                                       section 407.453, in or from the
                                                      state of Missouri of the fact that
                                                                  the attorney
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  Missouri                                               general has approved any filing
 (continued)                                              required by this chapter as the
                                                                approval, sanction or
                                                           endorsement of any activity,
                                                         project or action of such person,
                                                           is declared to be an unlawful
                                                              practice. Any act, use or
                                                         employment declared unlawful
                                                          by this subsection violates this
                                                          subsection whether committed
                                                         before, during or after the sale,
                                                           advertisement or solicitation.
Nebraska       Counts      Sects. III,    Neb. Rev.        Unfair methods of competition         Meta agrees that the States
                  XXIX-    IV(A), V       Stat. § 59-       and unfair or deceptive acts or     assert a claim for violation of
                  XXX                      1602; §          practices in the conduct of any   this statute. Meta does not agree
                                             87-             trade or commerce shall be        that the text printed here is the
                                         302(a); § 87-                 unlawful.                 only relevant authority and
                                           303.01                                              provides appendices laying out
                                                                                                      relevant authority.
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Nebraska   Count XXXI   Sect. III   Neb. Rev.            A person engages in a         Meta agrees that the States
                                       Stat. §          deceptive trade practice       assert a claim for violation
                                       87-           when, in the course of his or      of this statute. Meta does
                                       302(a)                 her business,               not agree that the text
                                                 vocation, or occupation, he or she:     printed here is the only
                                                        (2) Causes likelihood of          relevant authority and
                                                        confusion or of                provides appendices laying
                                                    misunderstanding as to the            out relevant authority.
                                                     source, sponsorship, approval,
                                                     or certification of goods or
                                                     services;
                                                       (5) Represents that goods or
                                                  services have sponsorship,
                                                  approval, characteristics,
                                                  ingredients, uses, benefits, or
                                                  quantities that they do not have
                                                         or that a person has a
                                                        sponsorship, approval,
                                                          status, affiliation, or
                                                       connection that he or she
                                                             does not have;
                                                    (7) Represents that goods are
                                                      original or new if they are
                                                      deteriorated, altered,
                                                      reconditioned,
                                                   reclaimed, used, or secondhand,
                                                     except that sellers may repair
                                                 damage to and make adjustments
                                                   on or replace parts of otherwise
                                                   new goods in an effort to place
                                                   such goods in compliance with
                                                                 factory
                                                             specifications;
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  Nebraska                                       (9) Disparages the goods,
 (continued)                                      services, or business of another
                                                  by false or misleading
                                                  representation of
                                                                         fact;
                                                   (14) With respect to a sale or
                                                  lease to a natural person of
                                                  goods or services purchased or
                                                  leased
                                                  primarily for personal, family,
                                                            household, or
                                                   agricultural purposes, uses or
                                                   employs any referral or chain
                                                   referral sales technique, plan,
                                                    arrangement, or agreement.
Nebraska       Count   Sect. IV(A)   Neb. Rev.       An unconscionable act or        Meta agrees that the States assert
               XXXII                   Stat. §        practice by a supplier in         a claim for violation of this
                                       87-          connection with a consumer       statute. Meta does not agree that
                                       303.01     transaction shall be a violation    the text printed here is the only
                                                 of the Uniform Deceptive Trade       relevant authority and provides
                                                            Practices Act.            appendices laying out relevant
                                                                                                  authority.
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New Jersey   Count    Sects. III, IV   N.J. Stat.      The act, use or employment by        Meta agrees that the States assert
             XXXIII                          Ann.        any person of any commercial          a claim for violation of this
                                             §§          practice that is unconscionable    statute. Meta does not agree that
                                             56:8-2      or abusive, deception, fraud,       the text printed here is the only
                                                         false pretense, false promise,      relevant authority and provides
                                                         misrepresentation, or the           appendices laying out relevant
                                                         knowing, concealment,                           authority.
                                                         suppression, or omission of
                                                         any material fact with intent
                                                         that others rely upon such
                                                         concealment, suppression or
                                                       omission, in connection with the
                                                         sale or advertisement of any
                                                      merchandise or real estate, or with
                                                        the subsequent performance of
                                                      such person as aforesaid, whether
                                                      or not any person has in fact been
                                                         misled, deceived or damaged
                                                          thereby, is declared to be an
                                                          unlawful practice; provided,
                                                         however, that nothing herein
                                                      contained shall apply to the owner
                                                          or publisher of newspapers,
                                                      magazines, publications or printed
                                                              matter wherein such
                                                       advertisement appears, or to the
                                                        owner or operator of a radio or
                                                            television station which
                                                                  disseminates
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 New                                                         such advertisement when the
 Jersey                                                      owner, publisher, or operator
 (continued)                                                has no knowledge of the intent,
                                                                design or purpose of the
                                                                        advertiser.
New York       Count XXXIV   Sects. III, V   N.Y. Gen. Bus. Deceptive acts or practices in      Meta agrees that the States
                                             Law              the conduct of any business,     assert a claim for violation of
                                                  § 349(a)    trade or commerce or in the       this statute. Meta does not
                                                              furnishing of any service in       agree that the text printed
                                                             this state are hereby declared       here is the only relevant
                                                                         unlawful.                 authority and provides
                                                                                                   appendices laying out
                                                                                                     relevant authority.
New York       Count XXXV    Sects. III, V   N.Y. Gen. Bus.   False advertising in the conduct   Meta agrees that the States
                                             Law               of any business, trade or        assert a claim for violation of
                                                 § 350         commerce or in the                this statute. Meta does not
                                                               furnishing of any               agree that the text printed here
                                                              service in this state is hereby   is the only relevant authority
                                                              declared unlawful.               and provides appendices laying
                                                                                                    out relevant authority.
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New York    Counts      Sect. III     N.Y. Exec.       Whenever any person shall          Meta agrees that the States
           XXXVI-                          Law §     engage in repeated fraudulent       assert a claim for violation of
           XXXVIII                         63(12)       or illegal acts or otherwise      this statute. Meta does not
                                                    demonstrate persistent fraud or     agree that the text printed here
                                                       illegality in the carrying on,    is the only relevant authority
                                                       conducting or transaction of         and provides appendices
                                                     business, the attorney general      laying out relevant authority.
                                                     may apply, in the name of the
                                                        people of the state of New
                                                      York, to the supreme court of
                                                        the state of New York, on
                                                         notice of five days, for an
                                                            order enjoining the
                                                      continuance of such business
                                                    activity or of any fraudulent or
                                                           illegal acts, directing
                                                    restitution and damages and, in
                                                    an appropriate case, cancelling
                                                     any certificate filed under and
                                                      by virtue of the provisions of
                                                      section four hundred forty of
                                                          the former penal law or
                                                      section one hundred thirty of
                                                      the general business law, and
                                                     the court may award the relief
                                                     applied for or so much thereof
                                                       as it may deem proper. The
                                                      word “fraud” or “fraudulent”
                                                       as used herein shall include
                                                     any device, scheme or artifice
                                                     to defraud and any deception,
                                                             misrepresentation,
                                                    concealment, suppression, false
                                                               pretense, false
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                                     promise or unconscionable
                                       contractual provisions.
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     New York                                             The term “persistent fraud” or
    (continued)                                          “illegality” as used herein shall
                                                         include continuance or carrying
                                                          on of any fraudulent or illegal
                                                             act or conduct. The term
                                                          “repeated” as used herein shall
                                                             include repetition of any
                                                         separate and distinct fraudulent
                                                         or illegal act, or conduct which
                                                               affects more than one
                                                                       person.
North Carolina     Count   Sects. III,      N.C.G.S. §           Unfair methods of            Meta agrees that the States
                  XXXIX            IV(A),       75-         competition in or affecting       assert a claim for violation
                                   V            1.1(a)       commerce, and unfair or          of this statute. Meta does
                                                                  deceptive acts or              not agree that the text
                                                              practices in or affecting         printed here is the only
                                                              commerce, are declared            relevant authority and
                                                                     unlawful.               provides appendices laying
                                                                                                out relevant authority.
                                                                                              Meta notes that the States
                                                                                              do not print the full text of
                                                                                              the statute, which goes on
                                                                                             to define violations in more
                                                                                              specific and limited terms,
                                                                                                as described in Meta’s
                                                                                                briefs and appendices.
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North Dakota    Counts      Sects. III, IV(A)   N.D. Cent.      The act, use, or employment by       Meta agrees that the States
                   XL-                              Code §      any person of any deceptive act     assert a claim for violation of
                   XLI                              51-15-02         or practice, fraud, false       this statute. Meta does not
                                                                             pretense,             agree that the text printed here
                                                                         false promise, or          is the only relevant authority
                                                                   misrepresentation, with the     and provides appendices laying
                                                                 intent that others rely thereon        out relevant authority.
                                                                 in connection with the sale or
                                                                      advertisement of any
                                                                           merchandise,
                                                               whether or not any person has in
                                                                 fact been misled, deceived, or
                                                                damaged thereby, is declared to
                                                               be an unlawful practice. The act,
                                                                   use, or employment by any
                                                               person of any act or practice, in
                                                                   connection with the sale or
                                                                      advertisement of any
                                                                      merchandise, which is
                                                                    unconscionable or which
                                                                   causes or is likely to cause
                                                                  substantial injury to a person
                                                                     which is not reasonably
                                                                     avoidable by the injured
                                                                 person and not outweighed by
                                                                    countervailing benefits to
                                                                          consumers or to
                                                               competition, is declared to be an
                                                                        unlawful practice
   Ohio        Count XLII       Sect. III       Ohio Rev.        No supplier shall commit an       Meta agrees that the States
                                                  Code §          unfair or deceptive act or        assert a claim for violation of
                                                  1345.02(A)      practice in connection with a     this statute. Meta does not
                                                                  consumer                          agree that the text printed here
                                                                  transaction. Such an unfair or    is the only relevant authority
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                                   deceptive act or               and provides appendices
                                                                  laying out relevant authority.
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   Ohio                                               practice by a supplier violates this
(continued)                                             section whether it occurs before,
                                                        during, or after the transaction.
   Ohio       Count    Sect. IV(A)    Ohio Rev.            No supplier shall commit an       Meta agrees that the States assert
              XLIII                      Code §          unconscionable act or practice         a claim for violation of this
                                         1345.03(A)      in connection with a consumer       statute. Meta does not agree that
                                                               transaction. Such an           the text printed here is the only
                                                              unconscionable act or           relevant authority and provides
                                                      practice by a supplier violates this    appendices laying out relevant
                                                       section whether it occurs before,                  authority.
                                                        during, or after the transaction.
 Oregon       Count     Sect. IV     O.R.S. §         A person engages in an unlawful        Meta agrees that the States assert
              XLIV                   646.607(1)        trade practice if in the course of       a claim for violation of this
                                                        the person’s business, vocation      statute. Meta does not agree that
                                                            or occupation the person:         the text printed here is the only
                                                            (1) Employs any                   relevant authority and provides
                                                        unconscionable tactic in              appendices laying out relevant
                                                        connection with selling, renting                  authority.
                                                        or disposing of real estate, goods
                                                        or services, or collecting or
                                                        enforcing an obligation.
 Oregon       Count     Sect. IV          O.R.S. §    As used in ORS 336.184 and             Meta agrees that the States assert a
              XLIV                      646.605(9)(a) 646.605 to 646.652:                    claim for violation of this statute.
                                                       (9) “Unconscionable tactics”           Meta does not agree that the text
                                                              include, but are not limited    printed here is the only relevant
                                                              to, actions by which a         authority and provides appendices
                                                              person:                          laying out relevant authority.
                                                                  (a) Knowingly takes
                                                                  advantage of a
                                                          customer’s physical infirmity,
                                                        ignorance, illiteracy or inability
                                                      to understand the language of the
                                                                    agreement[.]
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Oregon   Count XLV   Sect. III      O.R.S. §    A person engages in an unlawful     Meta agrees that the States assert a
                                  646.608(1)(e)    practice if in the course of the claim for violation of this statute.
                                                   person’s business, vocation or    Meta does not agree that the text
                                                occupation the person does any of printed here is the only relevant
                                                the following:                      authority and provides appendices
                                                 (e) Represents that real estate,     laying out relevant authority.
                                                   goods or services have
                                                   sponsorship, approval,
                                                   characteristics,
                                                    ingredients, uses, benefits,
                                                  quantities or qualities that the
                                                 real estate, goods or services do
                                                  not have or that a person has a
                                                      sponsorship, approval,
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  Oregon                                                   status, qualification, affiliation, or
(continued)                                                               connection that the
                                                                          person does not have.
  Oregon       Count XLVI    Sect. III       O.R.S. §      A person engages in an unlawful          Meta agrees that the States assert
                                           646.608(1)(t)        practice if in the course of the       a claim for violation of this
                                                                person’s business, vocation or      statute. Meta does not agree that
                                                            occupation the person does any of        the text printed here is the only
                                                            the following:                           relevant authority and provides
                                                           (t) Concurrent with tender or             appendices laying out relevant
                                                                delivery of any real estate,                     authority.
                                                                goods or services fails to
                                                                disclose any
                                                           known material defect or material
                                                           nonconformity.
Pennsylvania     Counts Sects. III,      73 P.S. § 201-3        Unfair methods of competition       Meta agrees that the States assert
               XLVII-           IV(A),                       and unfair or deceptive acts or           a claim for violation of this
               XLVIII           V                            practices in the conduct of any        statute. Meta does not agree that
                                                             trade or commerce as defined by         the text printed here is the only
                                                             subclauses (i)                          relevant authority and provides
                                                               through (xxi) of clause (4) of        appendices laying out relevant
                                                                  section 2 of this act and                      authority.
                                                              regulations promulgated under
                                                            section 3.1 of this act are hereby
                                                                   declared unlawful. The
                                                              provisions of this act shall not
                                                               apply to any owner, agent or
                                                                 employee of any radio or
                                                                television station, or to any
                                                             owner, publisher, printer, agent
                                                             or employee of a newspaper or
                                                             other publication, periodical or
                                                             circular, who, in good faith and
                                                                 without knowledge of the
                                                               falsity or deceptive character
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                                                          thereof, publishes, causes to
                                                                       be
                                                          published or takes part in the
                                                               publication of such
                                                                 advertisement.




Rhode Island Count XLIX Sects. III,       R.I. Gen. L.     Unfair methods of competition      Meta agrees that the States assert a
                                IV(A),          §§ 6-    and unfair or deceptive acts or       claim for violation of this statute.
                                V               13.1-2   practices in the conduct of any       Meta does not agree that the text
                                                            trade or commerce are               printed here is the only relevant
                                                            declared unlawful.                        authority and provides
                                                                                                appendices laying out relevant
                                                                                                            authority.
   South      Count L    Sects. III,      S.C. Code         Unfair methods of competition      Meta agrees that the States assert
  Carolina                       IV(A),      Ann. §       and unfair or deceptive acts or          a claim for violation of this
                                 V           39-5-        practices in the conduct of any      statute. Meta does not agree that
                                             20(a)       trade or commerce are hereby           the text printed here is the only
                                                         declared unlawful.                     relevant authority and provides
                                                                                                appendices laying out relevant
                                                                                                 authority. Meta notes that the
                                                                                               States do not print the full text of
                                                                                                  the statute, which goes on to
                                                                                               define violations in more specific
                                                                                               and limited terms, as described in
                                                                                                 Meta’s briefs and appendices.
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 Virginia    Count LI      Sect. III     Va. Code §§         The following fraudulent acts Meta agrees that the States assert a
                                              59.1-        or practices committed by a        claim for violation of this statute.
                                              200(A)       supplier in connection with a       Meta does not agree that the text
                                                             consumer transaction are          printed here is the only relevant
                                                                              hereby          authority and provides appendices
                                                                              declared           laying out relevant authority.
                                                                              unlawful:
                                                          (5) Misrepresenting that goods
                                                           or services have certain
                                                           quantities, characteristics,
                                                           ingredients,
                                                                           uses, or benefits;
                                                        (6) Misrepresenting that goods or
                                                        services are of a particular
                                                        standard, quality, grade, style, or
                                                        model;
                                                            (14) Using any other deception,
                                                          fraud, false pretense, false
                                                          promise, or misrepresentation in
                                                              connection with a consumer
                                                              transaction.
Washington   Counts     Sects. III,      Wash. Rev.         Unfair methods of competition Meta agrees that the States assert a
                LII-            IV(A),      Code §        and unfair or deceptive acts or      claim for violation of this statute.
                LIII            V           19.86.020     practices in the conduct of any      Meta does not agree that the text
                                                         trade or commerce are hereby           printed here is the only relevant
                                                         declared unlawful.                   authority and provides appendices
                                                                                                  laying out relevant authority.
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Wisconsin   Count LIV   Sect. III     Wis. Stat.       No person, firm, corporation         Meta agrees that the States
                                      §                  or association, or agent or       assert a claim for violation of
                                      100.18(1)        employee thereof, with intent        this statute. Meta does not
                                                                     to sell,                agree that the text printed
                                                           distribute, increase the           here is the only relevant
                                                      consumption of or in any wise            authority and provides
                                                         dispose of any real estate,           appendices laying out
                                                                merchandise,                     relevant authority.
                                                          securities, employment,
                                                        service, or anything offered
                                                            by such person, firm,
                                                                corporation or
                                                   association, or agent or employee
                                                     thereof, directly or indirectly, to
                                                      the public for sale, hire, use or
                                                     other distribution, or with intent
                                                                 to induce the
                                                   public in any manner to enter into
                                                   any contract or obligation relating
                                                    to the purchase, sale, hire, use or
                                                          lease of any real estate,
                                                          merchandise, securities,
                                                       employment or service, shall
                                                               make, publish,
                                                      disseminate, circulate, or place
                                                        before the public, or cause,
                                                        directly or indirectly, to be
                                                                     made,
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 Wisconsin                                          published, disseminated,         Meta agrees that the States
(continued)                                       circulated, or placed before       assert a claim for violation
                                                  the public, in this state, in a     of this statute. Meta does
                                                             newspaper,                 not agree that the text
                                                magazine or other publication,         printed here is the only
                                                or in the form of a book, notice,       relevant authority and
                                                 handbill, poster, bill, circular,   provides appendices laying
                                                pamphlet, letter, sign, placard,        out relevant authority.
                                                card, label, or over any radio or
                                               television station, or in any other
                                                way similar or dissimilar to the
                                                           foregoing, an
                                                advertisement, announcement,
                                                            statement or
                                               representation of any kind to the
                                               public relating to such purchase,
                                                 sale, hire, use or lease of such
                                                    real estate, merchandise,
                                                       securities, service or
                                                employment or to the terms or
                                                    conditions thereof, which
                                                advertisement, announcement,
                                                  statement or representation
                                                      contains any assertion,
                                                         representation or
                                                    statement of fact which is
                                                       untrue, deceptive or
                                                            misleading.
